        6:20-cv-00423-JFH Document 152 Filed in ED/OK on 11/17/21 Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF
                                      OKLAHOMA


     UNITED STATES OF AMERICA,

          Plaintiff,
                        v.
                                                          Case No. 6:20-cv-00423-JFH
     JEFFREY LOWE,

     LAUREN LOWE,

     GREATER WYNNEWOOD EXOTIC ANIMAL
     PARK, LLC, and

     TIGER KING, LLC,

          Defendants.



 NOTICE REGARDING CONSENT DECREE, MOTION FOR DEFAULT JUDGMENT,
     AND CORRESPONDENCE FROM CLAYTON HUGHES ABOUT SKUNKS

         The United States hereby submits this notice to address the outstanding matters in this

case.

I.       The Consent Decree Resolves Claims Against the Lowes and the United States Is
         Entitled to a Default Judgment Against the Defendant Entities.

         On November 11, 2021, the parties filed a Consent Decree between Plaintiff the United

States and Defendants Jeffrey and Lauren Lowe (“the Lowes”). The United States hereby

provides notice that if the Court approves and enters this Consent Decree, it will render moot the

portion of the United States’ pending Motion for Default Judgment (Dkt. 143) as it applies to the

Lowes, but not as it applies to Defendants Greater Wynnewood Exotic Animal Park, LLC and

Tiger King, LLC (“Defendant entities”). Although the Consent Decree resolves the claims in the

Complaint raised against the Lowes, the Defendant entities are not parties to the Consent Decree
     6:20-cv-00423-JFH Document 152 Filed in ED/OK on 11/17/21 Page 2 of 5




and thus entry of the Consent Decree will not resolve the United States’ claims against the

Defendant entities. Dkt. 149 n.1.

       The United States is entitled to a default judgment against the Defendant entities because

they failed to: (1) file a timely responsive pleading to the United States’ Complaint; (2) respond

to the United States’ Motion for Default Judgment by the response deadline; and (3) obtain

counsel in violation of this Court’s orders and the Local Rules. See Dkt. 143 at 2-4. Obtaining a

default judgment and the relief requested is essential to ensure that the Defendant entities cannot

violate the Animal Welfare Act (“AWA”) or Endangered Species Act (“ESA”) in the future or

claim an interest in the animals that the United States has temporarily placed with AWA-licensed

facilities. Until the Court grants the default judgment, the animals remain in “legal limbo,”

particularly in light of Defendants’ claims that the Defendant entities have an interest in some or

all of the animals. See Dkt. 143 at 7-8.

       In sum, the portion of the Motion for Default Judgment seeking relief against the Lowes

is now moot, but the portion seeking relief against the Defendant entities is ripe for decision,

unopposed, and important to the resolution of this case and future care of the animals. The

United States asks that the Court grant the Motion for Default Judgment as against the Defendant

entities and issue the following relief laid out in that motion:

       1. Declare that the Defendant entities have violated the ESA by illegally taking ESA-

           protected animals;

       2. Declare that the Defendant entities have violated the ESA by possessing ESA-protected

           animals, who have been illegally taken;

       3. Declare that the Defendant entities have violated the ESA by delivering, carrying,

           and/or transporting ESA-protected animals, who have been illegally taken;



                                                  2
      6:20-cv-00423-JFH Document 152 Filed in ED/OK on 11/17/21 Page 3 of 5




       4. Permanently enjoin the Defendant entities from taking any ESA-protected animals or

           possessing, delivering, carrying, or transporting ESA-protected animals that have been

           unlawfully taken; and

       5. Permanently relinquish the Defendant entities’ possessory and ownership interests in

           the ESA-protected animals and any offspring of such animals to the United States.

       6. Declare that the Defendant entities have violated the AWA by exhibiting without a

           license;

       7. Permanently enjoin the Defendant entities from exhibiting animals to the public;

       8. Permanently relinquish the Defendant entities’ possessory and ownership interests in

           the AWA-covered animals;1 and

       9. Permanently place the AWA-covered animals in the facilities selected by the United

           States.

II.    As Relevant to the Court’s Contempt Order, the United States Provides Notice of a
       Recent Correspondence from Mr. Clayton Hughes Regarding the Disposition of Two
       Skunks.

       The United States hereby provides notice of a recent correspondence it received from Mr.

Clayton Hughes regarding the disposition of two skunks, which is relevant to the Court’s January

15, 2021, May 14, 2021, September 16, 2021, and October 18, 2021 orders, Dkt. 65, 97, 133,

146, and the Parties’ joint status report, Dkt. 148. In their response, Dkt. 144, to the United

States’ fourth notice of continued noncompliance, Dkt. 137, the Lowes represented that “[t]he

skunks were given away free of charge to a local farmer that responded to a Craigslist ad. The



1
  As explained in the Motion for Default Judgment, while all of Defendants’ animals listed on the
December 16, 2020 inventory and the offspring thereof are covered by the AWA, we are using the
phrase “AWA-covered animals” to refer to the animals in Defendants’ possession at the time of
the filing of the Complaint that are not also listed as endangered or threatened under the ESA, and
any offspring born to those animals.
                                                 3
     6:20-cv-00423-JFH Document 152 Filed in ED/OK on 11/17/21 Page 4 of 5




emails related to this transaction are encrypted through Craigslist’s software and Defendants are

unable to retrieve any information regarding these transactions.” Dkt. 144; see also Dkt. 148.

However, the Lowes’ previously submitted record identified Mr. Clayton Hughes of Marietta,

Oklahoma as receiving the two skunks on October 1, 2021. Dkt. 135-7. In his notarized letter,

Mr. Hughes states that the Lowes’ “statement . . . is untrue”: he “never had contact with skunks,

and certainly never took in any skunks. [He] did not respond to any craiglist ad, and [has] never

owned a skunk.” See Attachment 1 (Correspondence from Mr. Hughes). Because this is

germane to Defendants compliance with the Court’s contempt order, the United States hereby

provides notice of the attached correspondence by Mr. Hughes.2



DATED: November 18, 2021                      Respectfully Submitted,

                                              TODD KIM
                                              Assistant Attorney General
                                              Environment and Natural Resources Division

                                              /s/ Briena L. Strippoli
                                              BRIENA STRIPPOLI
                                              Trial Attorney
                                              MARY HOLLINGSWORTH
                                              Senior Trial Attorney
                                              DEVON LEA FLANAGAN
                                              Trial Attorney
                                              United States Department of Justice
                                              Environment & Natural Resources Division
                                              Wildlife & Marine Resources Section
                                              P.O. Box 7611, Ben Franklin Station
                                              Washington, D.C. 20044-7611
                                              Briena.Strippoli@usdoj.gov | 202-598-0412
                                              Mary.Hollingsworth@usdoj.gov | 202-598-1043
                                              Devon.Flanagan@usdoj.gov | 202-305-0201
                                              Fax: 202-305-0275


2
   For the Court’s reference, the United States is also providing an updated and notarized
statement from Christina Harkey that was received after the joint status report, Dkt. 148, was
filed. See Attachment 2.
                                                4
6:20-cv-00423-JFH Document 152 Filed in ED/OK on 11/17/21 Page 5 of 5




                                CHRISTOPHER J. WILSON
                                Acting United States Attorney
                                SUSAN BRANDON, Civil Chief
                                United States Attorney’s Office
                                Eastern District of Oklahoma
                                520 Denison Avenue
                                Muskogee, OK 74401

                                Attorneys for the United States of America




                                  5
